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                                       UNITED STATES BANKRUPTCY COURT
                                                Region 3 DISTRICT OF New Jersey



In Re. HMOB of Wayne Owner                                          §                   Case No. 20-12550
                                                                    §
                                                                    §                   Lead Case No. 21-12465
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                    Chapter 11

Reporting Period Ended: 06/30/2021                                                        Petition Date: 02/14/2020

Months Pending: 17                                                                        Industry Classification:    6     2   1     3

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Anthony Sodono, III                                                      Anthony Sodono, III
Signature of Responsible Party                                               Printed Name of Responsible Party
08/24/2021
Date
                                                                             MSB - 75 Livingston Avenue, Roseland, NJ 07068
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (06/07/2021)                                        1
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Debtor's Name HMOB of Wayne Owner                                                                 Case No. 20-12550


Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $0
b.   Total receipts (net of transfers between accounts)                                              $0                 $0
c.   Total disbursements (net of transfers between accounts)                                         $0                 $0
d.   Cash balance end of month (a+b-c)                                                               $0
e.   Disbursements made by third party for the benefit of the estate                                 $0                 $0
f.   Total disbursements for quarterly fee calculation (c+e)                                         $0                 $0
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                      $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                 $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                      $0
d    Total current assets                                                                            $0
e.   Total assets                                                                                    $0
f.   Postpetition payables (excluding taxes)                                                         $0
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                                      $0
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                                   $0
k.   Prepetition secured debt                                                             $69,604,967
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                        $0
n.   Total liabilities (debt) (j+k+l+m)                                                   $69,604,967
o.   Ending equity/net worth (e-n)                                                        $-69,604,967

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                 $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                 $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                 $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $0
c.   Gross profit (a-b)                                                                              $0
d.   Selling expenses                                                                                $0
e.   General and administrative expenses                                                             $0
f.   Other expenses                                                                                  $0
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                                   $0                 $0


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Debtor's Name HMOB of Wayne Owner                                                                               Case No. 20-12550

Part 5: Professional Fees and Expenses

                                                                                    Approved        Approved       Paid Current       Paid
                                                                                  Current Month    Cumulative         Month         Cumulative
a.       Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0              $0               $0               $0
         Itemized Breakdown by Firm
               Firm Name                           Role
         i     McManimon Scotland & Baum Lead Counsel                                        $0              $0               $0               $0
         ii    EisnerAmper LLP                     Financial Professional                    $0              $0               $0               $0

                                                                                    Approved        Approved       Paid Current       Paid
                                                                                  Current Month    Cumulative         Month         Cumulative
b.       Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

         Itemized Breakdown by Firm
               Firm Name                           Role
         i
         ii
c.       All professional fees and expenses (debtor & committees)

Part 6: Postpetition Taxes                                                                         Current Month              Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                                       $0                          $0
e.   Postpetition property taxes paid                                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)                  Yes        No
b.   Were any payments made outside the ordinary course of business                          Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                                     Yes        No
d.   Are you current on postpetition tax return filings?                                     Yes        No
e.   Are you current on postpetition estimated tax payments?                                 Yes        No
f.   Were all trust fund taxes remitted on a current basis?                                  Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                          Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by                     Yes        No      N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                                Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
                             Casualty/property insurance?                                    Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
                             General liability insurance?                                    Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                                 Yes        No


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Debtor's Name HMOB of Wayne Owner                                                                             Case No. 20-12550


k.      Has a disclosure statement been filed with the court?                             Yes          No
l.      Are you current with quarterly U.S. Trustee fees as                               Yes          No
        set forth under 28 U.S.C. § 1930?

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.


/s/ John H. Hajjar, MD                                                          John H. Hajjar, MD
Signature of Responsible Party                                                  Printed Name of Responsible Party

Sole Member                                                                     08/24/2021
Title                                                                           Date




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                                                                           DISTRICT OF NEW JERSEY
In re: HMOB of Wayne Owner, LLC                                                                                                                          Case No. 20-12550
Debtor                                                                                                                        Reporting Period: June 1, 2021 - June 30, 2021



                                           SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
   Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
   first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
   equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
   REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
   must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                          BANK ACCOUNTS                         CURRENT MONTH                  CUMULATIVE FILING TO DATE
                                               OPER.      PAYROLL        TAX      OTHER      ACTUAL            PROJECTED             ACTUAL            PROJECTED

   CASH BEGINNING OF MONTH



   RECEIPTS

   CASH SALES

   ACCOUNTS RECEIVABLE

   LOANS AND ADVANCES

   SALE OF ASSETS

   OTHER (ATTACH LIST)

   TRANSFERS (FROM DIP ACCTS)



     TOTAL RECEIPTS



   DISBURSEMENTS

   NET PAYROLL

   PAYROLL TAXES

   SALES, USE, & OTHER TAXES

   INVENTORY PURCHASES

   SECURED/ RENTAL/ LEASES

   INSURANCE

   ADMINISTRATIVE

   SELLING

   OTHER (ATTACH LIST)



   OWNER DRAW *

   TRANSFERS (TO DIP ACCTS)



   PROFESSIONAL FEES

   U.S. TRUSTEE QUARTERLY FEES

   COURT COSTS

   TOTAL DISBURSEMENTS



   NET CASH FLOW

   (RECEIPTS LESS DISBURSEMENTS)




   CASH - END OF MONTH

   * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                             THE FOLLOWING SECTION MUST BE COMPLETED
   DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

   TOTAL DISBURSEMENTS                                                                                                                             $

     LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                              $

     PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                $

   TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                 $

   Footnote:
   * “HMOB of Wayne Owner, LLC” maintains no separate individual bank accounts.
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                                                                          UNITED STATES BANKRUPTCY COURT
                                                                               DISTRICT OF NEW JERSEY
In re: HMOB of Wayne Owner, LLC                                                                                                                                                Case No. 20-12550
Debtor                                                                                                                                              Reporting Period: June 1, 2021 - June 30, 2021


                                                                              BANK RECONCILIATIONS
                                                                                Continuation Sheet for MOR-1
                                 A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.


                                                                      Operating                          Payroll                          Tax                               Other
                                                             #                              #                               #                               #
         BALANCE PER BOOKS


         BANK BALANCE
         (+) DEPOSITS IN TRANSIT (ATTACH LIST)
         (-) OUTSTANDING CHECKS (ATTACH LIST)
         OTHER (ATTACH EXPLANATION)
         ADJUSTED BANK BALANCE *
         * Adjusted bank balance must equal
           balance per books


         DEPOSITS IN TRANSIT                                     Date          Amount            Date          Amount            Date           Amount              Date        Amount




         CHECKS OUTSTANDING                                      Ck. #         Amount            Ch. #         Amount            Ck. #          Amount              Ck. #       Amount




         OTHER




         Footnote:
         * “HMOB of Wayne Owner, LLC” maintains no separate individual bank accounts.
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                                                                                                                             DISTRICT OF NEW JERSEY
In re: HMOB of Wayne Owner, LLC                                                                                                                                                                                                             Case No. 20-12550
Debtor                                                                                                                                                                                                           Reporting Period: June 1, 2021 - June 30, 2021


                                                                                                  SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                                                                         This schedule is to include all retained professional payments from case inception to current month.

                                                                                                                                                                                     Check            Amount Paid                  Year-To-Date
                     Payee                                                  Period Covered                              Amount Approved                   Payor                  Number    Date   Fees       Expenses          Fees          Expenses
 McManimon, Scotland & Baumann, LLC                                      2/13/2020 - 9/30/2020                                        341,634 Retainer applied                                     208,674        10,097          208,674          10,097
 McManimon, Scotland & Baumann, LLC                                      2/13/2020 - 9/30/2020                                               0 Sale of Wayne Property                              100,000             0          100,000               0
 Eisneramper                                                                   5/31/2020                                                49,186 Sale of Wayne Property                               25,000             0            25,000              0
                                                                                                                                                                                                                                  333,674          10,097



 *
     A retainer of $218,771.96 paid to MSB on behalf of the Debtor and the 25 related Bankruptcies is fully utilized.
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                                                                             DISTRICT OF NEW JERSEY
In re: HMOB of Wayne Owner, LLC                                                                                                                                                Case No. 20-12550
Debtor                                                                                                                                              Reporting Period: June 1, 2021 - June 30, 2021


                                                                          STATEMENT OF OPERATIONS
                                                                                      (Income Statement)

                       The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
                       realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                                                                                                                                  Cumulative
                       REVENUES                                                                             Month                                Filing to Date
                       Gross Revenues                                                                       $                           $
                       Less: Returns and Allowances
                       Net Revenue                                                                          $                           $
                       COST OF GOODS SOLD
                       Beginning Inventory
                       Add: Purchases
                       Add: Cost of Labor
                       Add: Other Costs (attach schedule)
                       Less: Ending Inventory
                       Cost of Goods Sold
                       Gross Profit
                       OPERATING EXPENSES
                       Advertising
                       Auto and Truck Expense
                       Bad Debts
                       Contributions
                       Employee Benefits Programs
                       Insider Compensation*
                       Insurance
                       Management Fees/Bonuses
                       Office Expense
                       Pension & Profit-Sharing Plans
                       Repairs and Maintenance
                       Rent and Lease Expense
                       Salaries/Commissions/Fees
                       Supplies
                       Taxes - Payroll
                       Taxes - Real Estate
                       Taxes - Other
                       Travel and Entertainment
                       Utilities
                       Other (attach schedule)
                       Total Operating Expenses Before Depreciation
                       Depreciation/Depletion/Amortization
                       Net Profit (Loss) Before Other Income & Expenses
                       OTHER INCOME AND EXPENSES
                       Other Income (attach schedule)
                       Interest Expense
                       Other Expense (attach schedule)
                       Net Profit (Loss) Before Reorganization Items
                       REORGANIZATION ITEMS
                       Professional Fees
                       U. S. Trustee Quarterly Fees
                       Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
                       Gain (Loss) from Sale of Equipment                                                                           -                          4,000,840
                       Other Reorganization Expenses (attach schedule)                                                              -                           (304,967)
                       Total Reorganization Expenses
                       Income Taxes
                       Net Profit (Loss)                                                                                            -                          3,695,873

                       *"Insider" is defined in 11 U.S.C. Section 101(31).

                       Footnotes:
                       * During the period the Debtor sold the Wayne property. The book gain on the sale of the property was approximately $4M, and the tax gain or
                       loss will be calculated on the 2020 year-end tax return. All revenues and expenses related to “HMOB of Wayne Owner, LLC” will be reflected
                       by “Hajjar Medical Office Building of Wayne, LLC”, the corresponding Operating Debtor. The balances above, relate to the sale of the property
                       and will be reflected on the MOR3 as a contra liability balance that was paid to Wells Fargo, as part of a settlement to the secured creditor. Any
                       Cross-Collateralized loan related charges will be reflected by the related Operating Debtors.

                       *No activity occurred during the period of June 30, 2021 due to the sale of the Wayne Property.
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                                                                           DISTRICT OF NEW JERSEY
In re: HMOB of Wayne Owner, LLC                                                                                                                                        Case No. 20-12550
Debtor                                                                                                                                      Reporting Period: June 1, 2021 - June 30, 2021



                                                           STATEMENT OF OPERATIONS - continuation sheet


                                                                                                                                         Cumulative
                         BREAKDOWN OF "OTHER" CATEGORY                                           Month                                  Filing to Date

                         Other Costs




                         Other Operational Expenses




                         Other Income




                         Other Expenses




                         Other Reorganization Expenses




                         Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
                         Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
                         bankruptcy proceeding, should be reported as a reorganization item.
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                                                                                         DISTRICT OF NEW JERSEY
In re: HMOB of Wayne Owner, LLC                                                                                                                                                                       Case No. 20-12550
Debtor                                                                                                                                                                     Reporting Period: June 1, 2021 - June 30, 2021



                                                                                             BALANCE SHEET

                The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                                          BOOK VALUE AT END OF                                 BOOK VALUE ON
                                                         ASSETS                                                      CURRENT REPORTING MONTH                                    PETITION DATE
                CURRENT ASSETS
                Unrestricted Cash and Equivalents
                Restricted Cash and Cash Equivalents (see continuation sheet)
                Accounts Receivable (Net)
                Notes Receivable
                Inventories
                Prepaid Expenses
                Professional Retainers
                Other Current Assets (attach schedule)
                TOTAL CURRENT ASSETS                                                                          $                                                -       $                           -
                PROPERTY AND EQUIPMENT
                Real Property and Improvements                                                                $                                                -       $                    7,699,160
                Machinery and Equipment
                Furniture, Fixtures and Office Equipment
                Leasehold Improvements
                Vehicles
                Less Accumulated Depreciation
                TOTAL PROPERTY & EQUIPMENT                                                                    $                                                -       $                    7,699,160
                OTHER ASSETS
                Loans to Insiders*
                Other Assets (attach schedule)
                TOTAL OTHER ASSETS                                                                            $                                                -       $                           -


                TOTAL ASSETS                                                                                  $                                                -       $                    7,699,160


                                                                                                                  BOOK VALUE AT END OF                                          BOOK VALUE ON
                                 LIABILITIES AND OWNER EQUITY                                                 CURRENT REPORTING MONTH                                           PETITION DATE
                LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
                Accounts Payable
                Taxes Payable (refer to FORM MOR-4)
                Wages Payable
                Notes Payable
                Rent / Leases - Building/Equipment
                Secured Debt / Adequate Protection Payments
                Professional Fees
                Amounts Due to Insiders*
                Other Postpetition Liabilities (attach schedule)
                TOTAL POSTPETITION LIABILITIES                                                                $                                                -       $                           -
                LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
                Secured Debt                                                                                  $                                        81,000,000      $                   81,000,000
                Contra Debt Account                                                                           $                                       (11,395,033) $                               -
                Priority Debt
                Unsecured Debt
                TOTAL PRE-PETITION LIABILITIES                                                                $                                        69,604,967      $                   81,000,000


                TOTAL LIABILITIES                                                                             $                                        69,604,967      $                   81,000,000
                OWNER EQUITY
                Capital Stock
                Additional Paid-In Capital
                Partners' Capital Account
                Owner's Equity Account
                Retained Earnings - Pre-Petition                                                              $                                       (73,300,840) $                       (73,300,840)
                Retained Earnings - Postpetition                                                              $                                          3,695,873
                Adjustments to Owner Equity (attach schedule)
                Postpetition Contributions (Distributions) (Draws) (attach schedule)
                NET OWNER EQUITY                                                                              $                                       (69,604,967) $                       (73,300,840)


                TOTAL LIABILITIES AND OWNERS' EQUITY                                                          $                                                -       $                    7,699,160

                *"Insider" is defined in 11 U.S.C. Section 101(31).

                Footnotes:
                * "HMOB of Wayne Owner, LLC" (the “Debtor”) and twenty five other Hajjar related entities (the Debtors”) filed for bankruptcy on February 13 and February 14, 2020. The
                Debtors have been allocated into two Debtors groups, the Owner Debtors and the Operating Debtors. “HMOB of Wayne Owner, LLC” is considered one of the Owner Debtors.
                * “HMOB of Wayne Owner, LLC” maintains no separate individual bank accounts.
                * The Schedules of Assets and Liabilities and Statement of Financial Affairs filed by the Debtor reflected the appraised value of the real property owned by the Debtor at the petition
                date and a Cross-Collateralized loan related to the Debtors of $81,000,000. During the period the Debtor sold the Wayne Property which resulted in $11,395,033 paid to the Lender.
                This balance is reflected above by reducing the balance of the Secured Debt. The difference between the the Debtors carrying value and the sale amount is reflected on the MOR2
                and through retained earnings.
                *All revenues and expenses related to “HMOB of Wayne Owner, LLC” will be reflected by “Hajjar Medical Office Building of Wayne, LLC”, the corresponding Operating Debtor.

                *No activity or remaining items occurred during the period of January 31, 2021 due to the sale of the Wayne Property.
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                                                                        DISTRICT OF NEW JERSEY
In re: HMOB of Wayne Owner, LLC                                                                                                                                Case No. 20-12550
Debtor                                                                                                                              Reporting Period: June 1, 2021 - June 30, 2021




                                                        BALANCE SHEET - continuation sheet


                                                                                            BOOK VALUE AT END OF              BOOK VALUE ON
                                                ASSETS                                   CURRENT REPORTING MONTH              PETITION DATE
                Other Current Assets




                Other Assets




                                                                                            BOOK VALUE AT END OF              BOOK VALUE ON
                              LIABILITIES AND OWNER EQUITY                               CURRENT REPORTING MONTH              PETITION DATE
                Other Postpetition Liabilities




                Adjustments to Owner Equity




                Postpetition Contributions (Distributions) (Draws)




                Restricted Cash is cash that is restricted for a specific use and not available to fund operations. Typically, restricted cash is segregated
                into a separate account, such as an escrow account.
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                                                                                UNITED STATES BANKRUPTCY COURT
                                                                                     DISTRICT OF NEW JERSEY
In re: HMOB of Wayne Owner, LLC                                                                                                                                                          Case No. 20-12550
Debtor                                                                                                                                                        Reporting Period: June 1, 2021 - June 30, 2021


                                                                              STATUS OF POSTPETITION TAXES

        The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
        Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
        Attach photocopies of any tax returns filed during the reporting period.

                                                              Beginning                   Amount                                                                                       Ending
                                                                 Tax                     Withheld or                          Amount                      Date         Check No.         Tax
                                                               Liability                  Accrued                              Paid                       Paid          or EFT         Liability
        Federal
        Withholding
        FICA-Employee
        FICA-Employer
        Unemployment
        Income
        Other:_________________
          Total Federal Taxes
        State and Local
        Withholding
        Sales
        Excise
        Unemployment
        Real Property
        Personal Property
        Other:_________________
          Total State and Local
        Total Taxes



                                                                     SUMMARY OF UNPAID POSTPETITION DEBTS

        Attach aged listing of accounts payable.

                                                                                                                    Number of Days Past Due
                                                           Current           0-30                                  31-60                              61-90         Over 90         Total
        Accounts Payable
        Wages Payable
        Taxes Payable
        Rent/Leases-Building
        Rent/Leases-Equipment
        Secured Debt/Adequate Protection Payments
        Professional Fees
        Amounts Due to Insiders*
        Other:__________________________
        Other:__________________________
        Total Postpetition Debts

        Explain how and when the Debtor intends to pay any past-due postpetition debts.


        *"Insider" is defined in 11 U.S.C. Section 101(31).

        Footnotes:
        * The Debtor maintains no employees.
   Case 20-12465-JKS                             Doc 729 Filed 08/24/21 Entered 08/24/21 15:24:58                                                                          Desc Main
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                                                                         UNITED STATES BANKRUPTCY COURT
                                                                              DISTRICT OF NEW JERSEY
In re: HMOB of Wayne Owner, LLC                                                                                                                                               Case No. 20-12550
Debtor                                                                                                                                             Reporting Period: June 1, 2021 - June 30, 2021


                                                    ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


              Accounts Receivable Reconciliation                                                                                     Amount
              Total Accounts Receivable at the beginning of the reporting period
              + Amounts billed during the period
              - Amounts collected during the period                                                                                                   N/A1
              Total Accounts Receivable at the end of the reporting period

              Accounts Receivable Aging                                                                                              Amount
              0 - 30 days old
              31 - 60 days old
              61 - 90 days old
              91+ days old                                                                                                                            N/A1
              Total Accounts Receivable
              Amount considered uncollectible (Bad Debt)
              Accounts Receivable (Net)

                                                                            DEBTOR QUESTIONNAIRE

              Must be completed each month                                                                                          Yes                          No
              1. Have any assets been sold or transferred outside the normal course of business
                                                                                                                                      X
                 this reporting period? If yes, provide an explanation below.
              2. Have any funds been disbursed from any account other than a debtor in possession
                                                                                                                                                      N/A1
                 account this reporting period? If yes, provide an explanation below.
              3. Have all postpetition tax returns been timely filed? If no, provide an explanation
                                                                                                                                                      N/A1
                 below.
              4. Are workers compensation, general liability and other necessary insurance
                                                                                                                                                      N/A1
                 coverages in effect? If no, provide an explanation below.
              5. Has any bank account been opened during the reporting period? If yes, provide
                 documentation identifying the opened account(s). If an investment account has been opened                                            N/A1
                 provide the required documentation pursuant to the Delaware Local Rule 4001-3.

              Footnotes:
              1
               All revenues and expenses related to “HMOB of Wayne Owner, LLC” will be reflected by “Hajjar Medical Office Building of Wayne, LLC”, the corresponding
              Operating Debtor. Any Cross-Collateralized loan related charges will be reflected by the related Operating Debtors.
              * During the period the Debtor sold the Wayne property. The book gain on the sale of the property was approximately $4M, and the tax gain or loss will be calculated
              on the 2020 year-end tax return. All revenues and expenses related to “HMOB of Wayne Owner, LLC” will be reflected by “Hajjar Medical Office Building of Wayne,
              LLC”, the corresponding Operating Debtor. The balances above, relate to the sale of the property and will be reflected on the MOR3 as a contra liability balance that
              was paid to Wells Fargo, as part of a settlement to the secured creditor. Any Cross-Collateralized loan related charges will be reflected by the related Operating
              Debtors.
